               ChARGE OF DISCRIMINATION
                                                                                                                                       ~
                                                                                                                   AGENCY                           P~RGENT~

 ~s fo~ ~ affected by the Pdvacy Mt of 1974; See Pdvacy Act Statement befo~ co~1e~g this form                            I FEPA
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                                                                                                                                                       ~ ~



                                                                                                                  ~ X     EEOC       ~
                                                           Missouri Commission on Human Rights                                                                     and EEOC
                                                                                State or localAgency~ ~fany

NAME(Indicate Mr., Ms., Mrs.)                                                                                 HOME TELEPHONE (Include Area Code)
                                                                            ~                                                           8166165118
                                          Jean Morris
 STREET ADDRESS                                                                         CITY, STATE AND ZIP CODE                                            DATE OF BIRTH
                                   9212 Washington Street                                          Kansas City, MO 64114                                     REDACTED
NAMED IS THE EMPLOYER, LABOR ORGANIZATION, EMPLOYMENT AGENCY, APPRENTICESHIP COMMITTEE, STATE OR LOCAL GOVERNMENT
AGENCY WHO DISCRIMINATED AGAINST ME (Ifmore than one list below)
NAME                                                 NUMBER OF EMPLOYEES, MEMBERS                                                      TELEPHONE (Include Area Code)
             Cox Enterprises Inc.                                                             100+
STREET ADDRESS                                                                          CITY, STATE AND ZIP CODE                                           COUNTY
3003 Summit Blvd.             Ste 200                                                     Atlanta, GA 30319
NAME                                                                                                          TELEPHONE NUMBER (Include Area Code)
                      Cox Automotive Inc. and Autotrader. corn
STREET ADDRESS                                                                          CITY, STATE AND ZIP CODE                                           COUNTY
3003 Summit Blvd.__Ste 200                                                             Atlanta,_GA__30319
CAUSE OF DISCRIMINATION BASED ON (Check appropriate box(es))                                                                    DATE DISCRIMINATION TOOK PLACE
                                                                                                                                EARLIEST (ADEA/EPA)    LATEST (ALL)

     ~         RACE                   COLOR     X  SEX                                    RELIGION            x    AGE          July 2015                        July 29, 2016
                                          NATIONAL
         X     RETALIATION                ORIGIN                                 DISABILITY                   OTHER (Spec~

                                                                                                                                     Ix       CONTiNUING ACTION
THE PARTICULARS ARE (Ifadditional paper is needed, attach extra sheet(s)).

    I was employed by respondents for 9 years as an advertising consultant. My sales territory included Kansas and Missouri but was
 Missouri at the time of termination. In July of 2015 my supervisor, Mark Keller, asked if I would help cover an open territory after a
 colleague left the company. I agreed to do so and was looking forward to the opportunity. That same evening, my colleague Cassie
 Bajpeyi called me and asked about my meeting with Mark. I informed her of the additional territory I will be covering. She essentially
 threw a fit on the phone and said she wanted the territory. Ms. Bajpeyi is approximately 30 years old. I am 55 years old. Mark Keller, took
 the open territory away from me and gave it to Ms. Bajpeyi. Thereafter in September, October and November, Mr. Keller and the new
 regional sales director, Andy Lorenz, begin to reallocate my territory. My most profitable territories were given to Ms. Bajpeyi. At about
 this same time, another older female employee was also informed that she would be losing most of her territory. When Ms. Bajpeyi was
 given my territory I was then given her less desirable territory. Some of the accounts informed me that they did not want Ms. Bajpeyi to
 service them however the requests were ignored by upper level management. Mr. Keller also took accounts suffering neglect by Ms.
 Bajpeyi and that were in pending cancellation and transferred them to me without consultation or communication so that I would suffer
 the revenue loss instead of Ms. Bajpeyi. In December of 2015, I reported the discrimination. That same month I was put on a written
 warning and performance improvement plan by Mr. Keller. I made a written complaint of discrimination to HR at the end of February
 2016. I also made a complaint about unethical conduct by Andy Lorenz. In the Spring of2016 Andy Lorenz was fired for the violations I
 reported. Andy Lorenz and Mark Keller were close. Mark Keller was angry about my role in the termination of Mr. Lorenz in addition to
my complaints of discrimination. In the Spring of2016 I made my 2uid quarter goal by 140% and received a bonus. Yet in June of 2016,
just months after my written complaint of discrimination and complaints ofunethical conduct, I was put on a final written warning. I was
                                                                                                     NOTARY - (When necessary for State and Local Requirements)
I want this charge filed with both the EEOC and the State or local Agency, if any. I
will advise the agencies if I change my address or telephone number and I will
cooperate fblly with them in the processing of my charge in accordance with their
procedures.
                                                                                                     I swear or affirm that I have read the above charge and~atti~rue
                                                                                                     my knowledge, information and belief:                .1. J L       1)
                                                                                                                                                                        e best of

I declare under penalty ofperjury that the foregoing is true and correct.                            SIGNATURE OF COMPLAINANT
                                                                                                                                                          SEP207016
                                                                                                                    ~ ~ TO BEFORE                                          Rights



                                            Complaint  - 1-2
                                                          Exhibit   A
  ~ nnRM ç (1 fl/QA~
                          Case 4:17-cv-00606-DGK Document    Filed 07/21/17                                                               Page 1 of 2
also being held to standards that others were not. At the end of July 2016, Mark Keller terminated my employment. I believe I
was terminated as part of the company’s pattern and practice of age and gender discrimination. I also believe my termination
was in retaliation for my complaints of discrimination and unethical conduct. Ms. Bajpeyi has flirted with customers to the point
that she has been asked not to handle an account. She constantly flirts with Mark Keller and behaves inappropriately yet she
remains employed. As a result of the company’s discriminatory and retaliatory conduct, I have suffered and will continue to
suffer emotional distress and lost wages.




                                                                                                 FJL~j
                                                                                                    SEP20 ~
                                                                                            MO Comrnissj0~ on Human Rights
                                                                                                 Jefferson City OffIc&




                                     Complaint
                   Case 4:17-cv-00606-DGK       - 1-2
                                          Document Exhibit   A
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